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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                          Magistrate Judge Maritza Dominguez Braswell

   Civil Action No. 22–cv–01640–CNS–MDB


   DANIEL P. RICHARDS, a resident of the State of Washington,

          Plaintiff,

   v.

   LOCKHEED MARTIN CORPORATION d/b/a LOCKHEED MARTIN SPACE, a corporation
   headquartered and organized under the laws of the State of Maryland,

          Defendant.


                                    ORDER TO SHOW CAUSE


          This matter is before the Court sua sponte on Plaintiff’s failure to serve Defendant.

   Federal Rule of Civil Procedure 4(m) provides that:

          [i]f a defendant is not served within 90 days after the complaint is filed, the court—
          on motion or on its own after notice to the plaintiff—must dismiss the action
          without prejudice against the defendant or order that service be made within a
          specified time. But if the plaintiff shows good cause for the failure, the court must
          extend the time for service for an appropriate period.

   Fed. R. Civ. P. 4(m). Plaintiff Daniel P. Richards, who is a pro se litigant, commenced this

   lawsuit on July 1, 2022, naming Lockheed Martin Corporation as the sole defendant. (Doc. No.

   1.) More than ninety days have passed since Plaintiff’s complaint was filed, and service still has

   not been effectuated upon Defendant.

          On September 20, 2022, this Court held a Status Conference, during which Plaintiff was

   advised that his case could not move forward until Defendant was served with the summons and
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   complaint. (Doc. No. 10.) In light of Plaintiff’s pro se status, this Court extended the service

   deadline to November 15, 2022. (Id.) However, Plaintiff failed to effectuate service of

   Defendant by that new service deadline. Plaintiff’s failure to effectuate service upon Defendant

   within the time limits prescribed by Rule 4(m) is grounds for the dismissal of this case, in the

   absence of justification for the failure. See Jones v. Frank, 973 F.2d 872, 873-74 (10th Cir.

   1992).

            Accordingly, it is

            ORDERED that, on or before December 27, 2022, Plaintiff shall show cause, in writing,

   as to why his claims against Defendant should not be dismissed without prejudice, pursuant to

   Federal Rule of Civil Procedure 4(m), for lack of service. If the response is not timely filed, or if

   Plaintiff fails to show good cause for his failure to serve Defendant, the Court will recommend

   the dismissal of this case without further notice.

            DATED: December 5, 2022.




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